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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Case Number 21-MJ-188
RYAN SAMSEL,                                 :
                                             :
                      Defendant.             :


                      UNOPPOSED MOTION FOR EXTENSION

       On Monday, May 24, 2021, defense counsel filed a motion for pretrial release on behalf

of Ryan Samsel. (R. 23). Samsel has been detained since January 30, 2021. Defense counsel and

the Government have conferred and both are available on the morning of Friday, June 4 at any

time before noon for the hearing. The Government requests an extension to June 3, 2021 at 5

p.m. for the filing of its response to the defense motion. The defendant has no objection to this

extension.

                                    Respectfully submitted,


                                    CHANNING D. PHILLIPS
                                    ACTING UNITED STATES ATTORNEY

                             By:    /s/ April N. Russo
                                    April N. Russo
                                    Assistant United States Attorney
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                             CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Consent Motion to Continue was served upon counsel of
record through electronic mail, this 27th day of May, 2021.



                             By:     /s/ April N. Russo
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